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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
    PRODUCTS LIABILITY                                                              20-MD-2924
    LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

    _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                    PRETRIAL ORDER #36
                         Order on Schedule for Rule 12 Motions to Dismiss

          At the Court’s suggestion during the July 9, 2020 status conference, Co-Lead Counsel for

   Plaintiffs and Defendants conferred to develop an approach to forthcoming Rule 12 motions to

   dismiss directed at Plaintiffs’ Master Personal Injury Complaint (“Master PI Complaint”),

   Consolidated Consumer Class Complaint and Consolidated Third Party Payor Class Complaint

   (collectively, the “Master Complaints”).

          The parties previously had agreed on a schedule for briefing Rule 12 motions to dismiss,

   which the Court entered as part of PTO #30, with those motions due on August 23, 2020. PTO

   #30, however, was entered prior to the filing of Plaintiffs’ Master Complaints, and therefore did

   not consider whether, in light of those filings, the sequencing of Rule 12 motions would aid the

   parties and the Court in most effectively managing the motion practice and further the goal of

   ensuring that the parties can adhere to the case management schedule set forth in PTO #30,

   including the completion of all fact discovery and the filing of Daubert motions by December 20,

   2021. The Court requested that the parties confer and try to reach consensus as to the most

   effective proposals for accomplishing these goals. After consideration of the parties’ respective

   proposals on the issue, the number of Plaintiffs and Defendants named in the Master Complaints,
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   the number of claims asserted, and the anticipated grounds for Defendants’ Rule 12 motions as

   discussed at the July 9 conference, the Court concludes that a sequenced approach to such

   motions will allow the Court to consider threshold pleading issues in an efficient and orderly

   fashion. Therefore, the Court ORDERS and ADJUDGES as follows:

          1.      The following structure and schedule shall apply to Defendants’ anticipated Rule

   12 motions to dismiss directed to the Master Complaints:


    Deadline               Event

    August 24, 2020        Motions:

                           Defendants’ Rule 12 Motions to Dismiss Consolidated Consumer and
                           Third-Party Payor Class Action Complaints on grounds of (1)
                           preemption, (2) lack of Article III standing, and (3) shotgun pleading.

                           Defendants’ Rule 12 Motions to Dismiss Master PI Complaint on
                           grounds of (1) preemption, (2) shotgun pleading, and (3) innovator
                           liability (failure to state a claim).


                           Structure of Briefing:

                           Standing/Shotgun Pleading: All Defendants collectively may file one
                           Memorandum of Law of up to 30 pages seeking dismissal based on
                           Article III standing and shotgun pleading arguments applicable to the
                           Consolidated Class Action Complaints.

                           All Defendants collectively may file one Memorandum of Law of up to
                           20 pages seeking dismissal based on shotgun pleading arguments
                           applicable to the Master PI Complaint.

                           Preemption: Each of the brand, retailer, and distributor Defendant
                           groups may file one Memorandum of Law of up to 35 pages, and the
                           generic and repackager Defendant groups collectively may file one
                           Memorandum of Law of up to 35 pages, seeking dismissal based on
                           any preemption argument applicable to any of the three Master
                           Complaints. The Defendant groups shall endeavor to coordinate their
                           briefing on these issues and avoid duplication.
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                      Innovator Liability: Defendants collectively may file one
                      Memorandum of Law of up to 20 pages seeking dismissal of Plaintiffs’
                      innovator liability theory applicable to the Master PI Complaint.

    October 1, 2020   Plaintiffs’ Oppositions to Defendants’ Rule 12 Motions filed on August
                      24, 2020. Plaintiffs’ may file opposition Memoranda of Law as to each
                      separate defense Memorandum, with the same page limits as set forth
                      above.

    October 8, 2020   Motions:

                      Retailer Defendants’ Rule 12 Motions to Dismiss Master PI Complaint
                      and Consolidated Consumer Class Action Complaint on the following
                      grounds: (i) pharmacies are not subject to claims involving faultless
                      liability under state laws; and (ii) as pass-through entities, retailers
                      have state common law and statutory protections as to various causes
                      of action, or state law otherwise does not recognize such claims.

                      Distributor Defendants’ Rule 12 Motions to Dismiss Master PI
                      Complaint and Consolidated Consumer Class Action Complaint on the
                      following grounds: (i) as pass-through entities, distributors have state
                      common law and statutory protections as to various causes of action;
                      (ii) unjust enrichment cause of action fails to state a claim.

                      Generic Manufacturer and Repackager Defendants’ Rule 12 Motions to
                      Dismiss Consolidated Consumer and Third-Party Payor Class Action
                      Complaints on the following grounds: (i) negligence claims are barred
                      by the economic loss doctrine; (ii) Plaintiffs cannot allege a personal
                      injury nor have they alleged a cognizable economic injury; and (iii)
                      Plaintiffs’ request for injunctive relief as to medical monitoring and
                      defendants that no longer sell ranitidine-containing products is
                      improper.

                      Non-US Defendants’ Rule 12 Motions to Dismiss for Lack of Personal
                      Jurisdiction (if there is no agreement with Plaintiffs on dismissal of
                      such defendants without prejudice)


                      Structure of Briefing:

                      The Generic Manufacturer Defendants, Retailer Defendants, and
                      Distributor Defendants may each file one Memorandum of Law of up
                      to 25 pages seeking dismissal based on the above-listed grounds.

                      Personal Jurisdiction: All non-US Defendants collectively may file
                      one Memorandum of Law seeking dismissal based on lack of personal
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                             jurisdiction. The Memorandum of Law may include up to 15 pages
                             setting forth the applicable law on personal jurisdiction and there may
                             be up to an additional 7 pages per each non-US Defendant to explain
                             how the law applies to that Defendant.

                             Adoption by Reference:

                             Any Defendant may adopt by reference any of the arguments made in
                             the Retailer, Distributor, and/or Generic/Repackager Defendants’
                             motions listed above.1 To the extent that a Defendant adopts by
                             reference any of the arguments of other Defendants, the Defendant
                             shall state with specificity which arguments are adopted by reference
                             and how these arguments apply to that Defendant.


       October 20, 2020      Defendants’ Replies in support of any Rule 12 Motions filed on August
                             24, 2020. A Reply Memorandum may be up to half the length of the
                             corresponding opening Memorandum.

       November 9, 2020      Plaintiffs’ Oppositions to Defendants’ Rule 12 Motions filed on
                             October 8, 2020. Plaintiffs may file opposition Memoranda as to each
                             separate defense Memorandum, with the same page limits as set forth
                             above.

       November 23, 2020     Defendants’ Replies in support of any Rule 12 Motions filed on
                             October 8, 2020. A Reply Memorandum may be up to half the length
                             of the corresponding opening Memorandum.


             2.      If the Court grants in whole or in part any Defendant’s August 24, 2020 motion

   to dismiss directed to Article III standing and shotgun pleading and directs or permits Plaintiffs

   to re-plead their Master Complaint(s), then the following schedule shall apply:

       30 days after Court’s Plaintiffs’ Amended Master Complaint(s) filed
       Order on Article III
       Standing



   1
     This PTO was entered based upon input from the Generic, Retailer and acting Distributor
   liaison counsel. However, the Court understands that there are a number of other Defendants that
   are just now entering the litigation and therefore the above list of Rule 12 issues is without
   prejudice to these Defendants submitting a proposed PTO as to any additional Rule 12 issues at
   an appropriate time and affording Plaintiffs the opportunity to be heard as these issues.
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    30 days later            Defendants’ Rule 12 motions directed to Amended Master
                             Complaint(s) (page limits TBD based on content of complaints)

    30 days later            Plaintiffs’ Oppositions to Defendants’ Rule 12 motions to dismiss

    14 days later            Defendants’ Replies in support of their Rule 12 motions to dismiss


           If the Court denies in full all Defendants’ August 24, 2020 motions to dismiss directed to

   Article III standing and shotgun pleading, such that no re-pleading is required, then Defendants’

   motions to dismiss the Master Complaints on all remaining Rule 12 bases not included in the

   August 24 or October 8 motions described above will be due 30 days after the Court’s Order on

   Article III standing and shotgun pleading, with Plaintiffs’ oppositions due 30 days later, and

   Defendants’ replies due 14 days after oppositions.

           3.       By filing motions to dismiss in accordance with the above structure and schedule,

   Defendants do not waive, and expressly preserve, the right to raise any additional defenses in

   subsequent motions relating to the Master Complaints or amended versions thereof, or in this

   litigation as a whole, including but not limited to personal jurisdiction, venue, or defenses

   specific to particular claims. Defendants also do not waive any of their Lexecon rights.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 30th day of July,

   2020.




                                                 ROBIN L. ROSENBERG
                                                 UNITED STATES DISTRICT JUDGE
